                              NO. 07-10-00106-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
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JULY 20, 2010
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JOHN T. SAUTTER, MARYAH M. SAUTTER, DONALD R. CRUVER AND ANITA E. CRUVER, APPELLANTS
                                       
                                      v.
                                       
                       CITY OF HORSESHOE BAY, APPELLEE 
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                 FROM THE 424TH DISTRICT COURT OF LLANO COUNTY;
                                       
                 NO. 16,119; HONORABLE DANIEL H. MILLS, JUDGE
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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
The parties to this appeal have filed a joint motion requesting dismissal of the appeal.  See Tex. R. App. P. 42.1(a).  According to the motion, the parties "have settled all matters in controversy and made the basis of this cause of action."  The parties have also agreed that costs shall be borne by the party incurring them.  See Tex. R. App. P. 42.1(d).
No decision of this court having been delivered to date, we grant the motion. Accordingly, the appeal is dismissed.  No motion for rehearing will be entertained and our mandate will issue forthwith.  All costs incurred are taxed against the party incurring them.  
								James T. Campbell
									Justice


	

